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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF FLORIDA
                                       GAINESVILLE DIVISION

In Re:                                             )
                                                   )            Case No. 18-10341-KKS
Brian Elsmore                                      )
Mercedes Elsmore                                   )
      Debtors.
_________________________________/

                   TRUSTEE’S APPLICATION FOR AUTHORITY AND APPROVAL TO EMPLOY
                       MCCOY ANDERSON, A MEMBER OF GATOR HOMES REALTY,
                            AND APPROVE LISTING AGREEMENT FOR SALE OF
                                           REAL PROPERTY


         Theresa Bender, the Chapter 7 Trustee herein, pursuant to 11 U.S.C. §327, respectfully states:


         1.   The Applicant is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate of

              Brian Elsmore & Mercedes Elsmore.

         2. McCoy Anderson, a member of GATOR HOMES REALTY, (jointly referred to hereafter as

              “Local Listing Broker”) has the expertise and knowledge to assist the Chapter 7 trustee with

              the listing and sale of real property located at 4025 NORTHWEST 35TH STREET GAINESVILLE,

              FL 32605, legally described as follows:

              CITY/MUNI/TWP:GAINESVILLE SEC/TWN/RNG/MER:SEC 23 TWN 09S RNG 19E REPLAT OF

              LOTS 1-5 7 8 19-36 & 39-43 OF SABLE CHASE CLUSTER SUBD PHASE I PB P-97 LOT 25 OR

              2906/1013 MAP REF:QTR SEC 3445

              hereinafter referred to as the “Real Property”.

         3. The Debtors have not declared the Real Property as exempt.

         4. The Chapter 7 Trustee desire to employ Local Listing Broker to provide professional services

              on behalf of this bankruptcy estate for the listing and sale of the Real Property identified

              hereinabove, in which the above-named Debtor holds an interest. The Local Listing Broker
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            is requesting a commission of two percent (2%) of the gross sale proceeds. All fees and

            expenses will be presented to the Court for approval prior to payment.

        5. Attached hereto as Exhibit “A” is the duly executed and verified statement on behalf of the

            Local Listing Broker that their employees and members are disinterested persons, as the

            term is used in the Bankruptcy Code, do not hold an interest adverse to the bankruptcy

            estate, is not aware of any connection with the Debtors, creditors, any other party in

            interest, their respective attorneys or accountants, the United States Trustee or any person

            employed in the Office of the United States Trustee and understand there is a continuing

            duty to disclose any such adverse interest.

        6. Notice of this Application is being served upon the Office of the United States Trustee,

            Debtors’ counsel, Debtors and all parties of interest in this matter.

        7. Attached hereto as Exhibit “B” is a copy of the Listing Agreement and the Chapter 7 Trustee

            requests that the Court approve this Agreement, which the Chapter 7 Trustee has executed

            on behalf of this bankruptcy estate.

        8. BK Global Real Estate Services (“BK Global”) has been retained by the Chapter 7 Trustee and

            BK Global has agreed to fully cooperate with Local Listing Broker, and to be paid the real

            estate commission agreed to by the Secured Creditor.

        9. Mr. Cooper claims a mortgage interest in and to the Real Property known as 4025

            NORTHWEST 35TH STREET GAINESVILLE, FL 32605 and has consented to the sale of the Real

            Property subject to their security interest.


        WHEREFORE, the Trustee prays the Court enter an Order approving and authorizing the

employment of McCoy Anderson, a member of GATOR HOMES REALTY, to perform professional

services on behalf of this bankruptcy estate, for the listing and sale of the Real Property known as 4025
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NORTHWEST 35TH STREET GAINESVILLE, FL 32605, in which the Debtor holds an ownership interest; and

for such other and further relief as the Court deems necessary.


        5/11/19                                         /s/ Theresa M. Bender
                                                        THERESA M. BENDER
                                                        CHAPTER 7 TRUSTEE
                                                        Theresa M. Bender, P.A.
                                                        Post Office Box 14557
                                                        Tallahassee, FL 32317
                                                        PH: (850) 205-7777
                                                        FL. Bar # 0749486
                                                        Tmbenderch7@gmail.com
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